Case 19-11466-MFW   Doc 4490-12      Filed 02/02/23   Page 1 of 2




                        Exhibit 12
                    January 31, 2023, email
                Case 19-11466-MFW         Doc 4490-12       Filed 02/02/23       Page 2 of 2



Jokelson
       E.
        Derek




From: Anthony Perno <Anthony.Perno@americanacademic.com>
Sent: Tuesday, January 31, 2023 4:34:33 PM
To: Peter Wieck <pwieck@wtprops.com>
Cc: John Dinome <John.Dinome@americanacademic.com>; Herb, Timothy <Timothy.Herb@nmrk.com>
Subject: RE: Painting of SHSH Building

Peter,

Hope you are doing well.

It was brought to my attention that a rumor existed that Ironstone was quoting the painting of the SHSH
building. Please accept this as formal notification that Ironstone or any of its affiliated parties are not
permitted to paint the building and we object to any work being planned or executed upon our property
by Ironstone.

Thanks again,

Anthony

Anthony Perno
Vice‐President Real Estate, Facilities, & Construction
American Academic Health Care, llc.
M: 856‐780‐0564




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